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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                     FOURTH AMENDED GENERAL ORDER 20-0012

                                          May 26, 2020

                IN RE: CORONAVIRUS COVID-19 PUBLIC EMERGENCY

       Given the public health emergency arising from the COVID-19 pandemic, and consistent

with guidance and orders from federal executive authorities, the State of Illinois, and local

governments, it is hereby ORDERED:

       Amended General Order 20-0012, entered on March 17, 2020; General Order 20-0014,

entered on March 20, 2020; Second Amended General Order 20-0012, entered on March 30,

2020; and Third Amended General Order 20-0012, entered on April 24, 2020, are vacated and

superseded by this Fourth Amended General Order. To protect the public health and welfare,

the United States District Court for the Northern District of Illinois hereby orders, effective May

29, 2020:

                                       Court Remains Open

     1. This Court remains open and accessible, subject to the limitations and procedures set

         forth below.

                                            Civil Cases

     2. The Third Amended General Order 20-0012 extended certain deadlines by 28 days.

         This Fourth Amended General Order does not extend any deadlines in civil cases.

     3. Civil case hearings, bench trials, and settlement conferences may be scheduled and

         conducted by the presiding judge by remote means. In-court hearings are limited to

         urgent matters that cannot be conducted remotely.

     4. Civil jury trials will not be conducted before August 3, 2020, and trials set to begin

         before August 3, 2020, will be reset by the presiding judge.




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                                        Criminal Cases

  5. The Court recognizes and respects the right of criminal defendants, particularly those in

     pretrial detention, to a speedy and public trial under the Sixth Amendment. That said,

     the public health emergency requires that the following procedures be implemented in

     criminal cases:

          a) Grand juries shall continue to meet, with reasonable limits on grand jury

              sessions imposed by the Court in consultation with the U.S. Attorney’s

              Office.

          b) Under Criminal Rule 4.1, a judge may review by reliable electronic

              means, rather than in person, a complaint, application for search

              warrant or trap/trace/pen register, application for wiretap, or application

              for any other warrant or order.

          c) Under Section 15002(b)(1) of the CARES Act, Pub. L. 116-136, 134 Stat.

              281, the Chief Judge of this Court authorizes the use of videoconferencing,

              or teleconferencing if videoconferencing is not reasonably available, for the

              following proceedings, so long as the defendant gives written or verbal

              consent after consultation with counsel:

                 i.     Detention hearings under 18 U.S.C. § 3142;

                ii.     Initial appearances under Criminal Rule 5;

               iii.     Preliminary hearings under Criminal Rule 5.1;

               iv.      Waivers of indictment under Criminal Rule 7(b);

                v.      Arraignments under Criminal Rule 10;

               vi.      Probation and supervised release revocation hearings under
                        Criminal Rule 32.1;

               vii.     Pretrial release revocation hearings under 18 U.S.C. § 3148;

              viii.     Appearances under Criminal Rule 40;



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               ix.   Misdemeanor pleas and sentencings under Criminal Rule 43(b)(2); and

                x.   Juvenile proceedings under Title 18, Chapter 403, except for
                     contested transfer hearings, juvenile delinquency adjudication, or trial
                     proceedings.

         d) A defendant who does not object to detention shall, before the scheduled

              detention hearing, notify the presiding judge orally (through counsel) or in

              writing that the defendant has no objection to detention. The decision to

              not object is without prejudice to the defendant’s right to later challenge

              detention and seek pretrial release.

         e) If the parties agree to invoke Section 15002(b)(2)(A) of the CARES Act to

              conduct a felony plea hearing or felony sentencing hearing by

              videoconferencing or teleconferencing, they shall notify the presiding judge,

              who will consult with the Chief Judge regarding the findings required by

              Section 15002(b)(2)(A). Felony plea hearings and felony sentencing hearings

              may be held remotely by teleconferencing only if videoconferencing is not

              reasonably available.

         f)   The court finds that the period of any continuance entered from the date of

              this Fourth Amended General Order through July 15, 2020, as a result of

              this Order shall be excluded under the Speedy Trial Act, 18 U.S.C.

              §3161(h)(7)(A). The court finds that the ends of justice served by the

              exclusion of time outweigh the interests of the parties and the public in a

              speedy trial given the need to protect the health and safety of defendants,

              defense counsel, prosecutors, court staff, and the public by reducing the

              number of in-person hearings to the greatest extent possible.

         g) Criminal jury trials will not be conducted before August 3, 2020, and trials

              scheduled to begin before August 3, 2020, will be reset by the presiding



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              judge. This continuance is necessary because criminal jury trials require: (i)

              the gathering of a large number of persons in the Jury Department; (ii) at

              least 12 jurors seated in the courtroom to hear evidence; (iii) 12 jurors to

              deliberate in the jury room; and (iv) five to six weeks’ notice in advance of

              trial to summon jurors. The advance-notice requirement makes any earlier

              date impractical because it is not known what large-gathering guidelines will

              be in place. Social-distancing guidelines might render juror participation

              difficult or unsafe, including during juror check-in and jury selection. For these

              same reasons, in cases impacted by this trial continuance, the Court

              excludes time under the Speedy Trial Act through August 3, 2020, because

              the ends of justice outweigh the interests of the parties and the public in a

              speedy trial.

         h) Parties proceeding by way of a bench trial in a criminal case must file a

              status report with the presiding judge by June 15, 2020, with a proposal for

              scheduling the bench trial.

         i)   The prior General Orders extended certain deadlines in criminal cases. This

              Fourth Amended General Order extends no deadlines.


                    Emergency Relief in Any Case or from this Order

  6. Any party may seek emergency relief in any case or from this Fourth Amended General

     Order. Emergency motions must be filed in the case in which emergency relief is

     sought. Any emergency motion must be filed (i) electronically via CM/ECF or (ii) for pro

     se non-e-filers, via email as outlined in Paragraph 12. If neither CM/ECF nor email is

     available to a party, then the party may deposit the emergency motion in a courthouse

     drop-box or mail the motion. The emergency motion will be considered as soon as

     practicable by the presiding judge, an emergency judge, or the Chief Judge. Case No.




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     20-cv-01792, which is a docket created to receive emergency motions filed under

     earlier General Orders, is now limited to emergency motions for release from custody.

     Emergency motions for release from custody must be filed on two dockets: (1) the

     docket of the case in which relief is sought and (2) Case No. 20-cv-01792.

  7. For an emergency matter, as defined by Local Rule 77.2(a)(3), that arises during

     business hours (Monday through Friday 7:00 a.m. through 6:00 p.m.), the party shall

     consult the presiding judge’s website and alert the presiding judge’s courtroom deputy

     of the filing. If an emergency matter arises outside of business hours, the party shall

     call (312) 702-8875, leave a message describing the emergency, and provide a return

     telephone number. The Clerk will return the call. Parties should consult the Court’s

     website for up-to-date procedures for emergencies.

                              Clerk’s Office and Filing Options

  8. The District Court Clerk’s Office in the Dirksen United States Courthouse in Chicago,

     Illinois, is closed to public entry through June 15, 2020. Filings in the Eastern Division

     may be: (1) electronically filed via CM/ECF; (2) deposited in the drop-box in the lobby

     of the Dirksen Courthouse during business hours; or (3) mailed to the U.S. District

     Court Clerk’s Office, 219 South Dearborn Street, 20th Floor, Chicago, IL 60604,

     although mail is not being processed on a regular basis. If a filing is mailed by a

     prisoner, the traditional “mail box” rule shall govern its filing date. Given the public

     health emergency and the current inability of the Clerk’s Office to process mail in the

     ordinary course, if a filing is mailed by a non-prisoner, the filing date shall be deemed to

     be the postmark date, subject to any party’s right to move that a different date be used.

     No in-person deliveries of any kind may be made to a judge’s chambers or to the

     Clerk’s Office.

  9. The District Court Clerk’s Office in the Stanley J. Roszkowski United States Courthouse

     in Rockford, Illinois, is closed to public entry through June 15, 2020. Filings in the



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     Western Division may be: (i) electronically filed via CM/ECF; (ii) deposited in the drop

     box located on the 2nd floor of the Roszkowski United States Courthouse during

     business hours; (iii) mailed to U.S. District Court Clerk’s Office, 327 South Church

     Street, Rockford, IL 61101, although mail is not being processed on a regular basis; or

     (iv) deposited in the drop box in the lobby of the Dirksen Courthouse during business

     hours. If a filing is mailed by a prisoner, the traditional “mail box” rule shall govern its

     filing date. Given the public health emergency and the current inability of the Clerk’s

     Office to process mail in the ordinary course, if a filing is mailed by a non-prisoner, the

     filing date shall be deemed to be the postmark date, subject to any party’s right to move

     that a different date be used. No in-person deliveries of any kind may be made to a

     judge’s chambers or to the Clerk’s Office.

                        Suspension of Local Rules 5.2(f) and 5.3(b)

  10. The Court suspends Local Rule 5.2(f), which requires in many instances that paper

     courtesy copies of filings be delivered to the judge, through July 15, 2020. No courtesy

     copies may be submitted for filings made through July 15, 2020.

  11. Although parties may continue to file non-emergency motions, the Court suspends

     Local Rule 5.3(b), which otherwise requires that all motions be noticed for presentment.

     For non-emergency motions, no motion may be noticed for presentment on a date

     earlier than July 15, 2020. For notices of presentment on and after July 15, 2020,

     parties must consult each judges’ presentment schedule because judges may

     continue to suspend the presentment requirement and may schedule motions at limited

     times.

                           Email Filing Option for Pro Se Parties

  12. The Court suspends through July 15, 2020, the prohibition against pro se parties

     emailing their filings to the Clerk’s Office. From now through July 15, 2020, the Court

     will accept filings from pro se litigants via email that comply with these requirements: (i)



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     the filing must be in PDF format; (ii) the filing must be signed s/ [filer’s name] or bear a

     handwritten signature; (iii) the email must be sent to Temporary_E-

     Filing@ilnd.uscourts.gov; (iv) the email must state the party’s name, address, and

     phone number; (v) for existing cases, the email’s subject line must read: “Pro Se Filing

     [Insert Your Case Number]”, and for new cases, the email’s subject line must read: “Pro

     Se Filing in New Case”. E-mails that do not comply with these requirements will not be

     reviewed and will not be considered a proper filing.

                             Suspension of Public Gatherings

  13. All public gatherings are suspended through July 15, 2020, at both the Everett

     McKinley Dirksen U.S. Courthouse in Chicago and the Stanley J. Roszkowski U.S.

     Courthouse in Rockford. This includes, but is not limited to, group tours and visits, moot

     courts and mock trials, bar group meetings, seminars, and naturalization ceremonies.

     Also suspended are in-court proceedings for Second Chance reentry court, SOAR

     Court, Veterans Treatment court, and Petty Offense (CVB). Notwithstanding this

     suspension, court proceedings allowed by another provision of this Order may take

     place.

                                   Additional Provisions

  14. This Fourth Amended General Order does not affect the authority of judges to enter

     orders in any civil or criminal cases. The parties must consult individual judges’

     websites for any modifications to the case-management requirements of this Order.

  15. The Court will vacate, amend, or extend this Fourth Amended General Order no later

     than July 13, 2020.

  16. The Clerk of Court shall distribute this Fourth Amended General Order: by electronic

     service on all registered CM/ECF users; by electronically posting the Order on the

     Court’s public website; by making printed copies available at the entrances of the

     Dirksen and Roszkowski Courthouses. In addition, the Clerk of Court shall send a copy



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       of this Order, either electronically or by mail, to the Illinois Department of Corrections

       (IDOC), all IDOC prison or detention facilities, the Illinois Department of Human

       Services Division of Mental Health Treatment and Detention Facility, and all county jails

       in this District; the warden, sheriff, or director of each prison, jail, or detention facility is

       directed to use reasonable means to notify persons incarcerated or detained therein of

       this Order and to allow access to this Order. In addition, the Clerk of Court shall docket

       this Order in each open civil and criminal case. Printed copies will not be mailed to non-

       CM/ECF users due to the heavy burden such mailings would place on the Clerk’s

       Office.

                                               ENTER:

                                               FOR THE COURT:



                                               _________________ _________________
                                                            Chief Judge

Dated at Chicago, Illinois this 26th day of May 2020




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